                                       Case 3:25-cv-01780-WHA           Document 89      Filed 03/10/25     Page 1 of 2




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                                   6                                 UNITED STATES DISTRICT COURT

                                   7
                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  10   AMERICAN FEDERATION OF
                                       GOVERNMENT EMPLOYEES, AFL-CIO,
                                  11   et al.,                                             No. C 25-01780 WHA

                                  12                  Plaintiffs,
Northern District of California
 United States District Court




                                  13           v.                                          ORDER ON EX PARTE
                                                                                           APPLICATION BY DEFENDANTS
                                  14   UNITED STATES OFFICE OF
                                       PERSONNEL MANAGEMENT, et al.,
                                  15
                                                      Defendants.
                                  16

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                                  18         The hearing on a preliminary injunction will proceed as scheduled on Thursday, March

                                  19   13.

                                  20         The government argues that “the March 13 evidentiary hearing and any depositions are

                                  21   unnecessary in light of OPM’s compliance with the TRO and [their] willingness to convert the

                                  22   Court’s TRO into a preliminary injunction” (Dkt. No. 75 at 10) (cleaned up). The problem is

                                  23   that plaintiffs seek broader relief than was provided by the TRO now in place. So, even if the

                                  24   Court must rule based solely on the record submitted during the TRO proceeding, it will do so,

                                  25   on or shortly after the March 13 hearing.

                                  26         Defendants next argue that the testimony of Acting Director Ezell should not be

                                  27   compelled because to do so would “inappropriately intrude on the workings of a coordinate

                                  28   branch of government and pose avoidable and unnecessary separation-of-powers concerns”
                                       Case 3:25-cv-01780-WHA            Document 89          Filed 03/10/25   Page 2 of 2




                                   1   (Dkt. No. 75 at 12). The problem here is that Acting Director Ezell submitted a sworn

                                   2   declaration in support of defendants’ position, but now refuses to appear to be cross examined,

                                   3   or to be deposed (despite, it should be added, government counsel’s embrace of that very idea

                                   4   during the TRO hearing). See In re Cheney, 544 F.3d 311, 313-314 (D.C. Cir. 2008).

                                   5        The Court’s order that he appear or be deposed will not be vacated, nor will the hearing

                                   6   on March 13. If Ezell does not appear in violation of that order, then the Court will have to

                                   7   decide the sanction, including whether or not to strike or limit his sworn declaration.

                                   8        However, with respect to those other government employees who have not submitted

                                   9   declarations, they need not be produced at the March 13 hearing. We will address the

                                  10   necessity (if any) of their testimony in due course.

                                  11        Plaintiffs remain free to bring those witnesses who will appear voluntarily.

                                  12        Counsel shall advise the Court whether they intend to produce any live witnesses by
Northern District of California
 United States District Court




                                  13   MARCH 11, 2025, AT 5 PM. If the answer is “no” on all counts, then the hearing will be moved

                                  14   to 1 PM (so the Court need not interrupt an ongoing criminal trial). If the answer is “yes,” and

                                  15   live testimony will be heard, then the hearing will take place as scheduled at 8 AM (and the

                                  16   criminal trial will be interrupted).

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                                  18        IT IS SO ORDERED.

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                                  20   Dated: March 10, 2025.

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                                                                                                 WILLIAM ALSUP
                                  23                                                             UNITED STATES DISTRICT JUDGE
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